            Case 1:16-cv-01492-EGS Document 57 Filed 10/05/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
                                                    )
MATTHEW GREEN ET AL.,                               )    Civil Action No.: 1:16-cv-1492-EGS
                                                    )
                Plaintiffs,                         )    Judge: Emmet G. Sullivan
                                                    )
       v.                                           )
                                                    )    STIPULATION AND JOINT
U.S. DEPARTMENT OF JUSTICE ET AL.,                  )    MOTION REGARDING STAY OF
                                                    )    DISTRICT COURT PROCEEDINGS
                Defendants.                         )    PENDING APPEAL
                                                    )
                                                    )

       Plaintiffs and Defendants in this action hereby stipulate to the following:

       WHEREAS, this Court dismissed certain of Plaintiffs’ claims, including the overbreadth,

prior restraint, and Administrative Procedure Act claims, on June 27, 2019 (Dkt. No. 24);

       WHEREAS, this Court denied Plaintiffs’ Motion for Preliminary Injunction on July 15,

2021 (Dkt. No. 51);

       WHEREAS, Plaintiffs and Defendants filed a Joint Status Report on August 18, 2021

(Dkt. No. 53), indicating the parties’ agreement that the instant case should be stayed in its

entirety pending the resolution of an appeal;

       WHEREAS, Plaintiffs filed a Notice of Appeal in this case, appealing the above orders

(Dkt. Nos. 51, 53) on September 10, 2021 (Dkt. No. 54);

       WHEREAS, the Notice of Appeal was transmitted to the United States Court of Appeals

for the District of Columbia Circuit on September 13, 2021 (Dkt. No. 55);

       WHEREAS, the Court has broad discretion to stay proceedings, see Landis v. N. Am.

Co., 299 U.S. 248, 254-55 (1936); Belize Soc. Dev. Ltd. v. Gov’t of Belize, 668 F.3d 724, 732-33

(D.C. Cir. 2012);
          Case 1:16-cv-01492-EGS Document 57 Filed 10/05/21 Page 2 of 2




       WHEREAS, the parties agree that a stay of district court proceedings pending resolution

of Plaintiffs’ appeal would conserve judicial resources and the resources of the parties;

       NOW, THEREFORE, THE PARTIES STIPULATE AND AGREE, through their

undersigned counsel of record, that the Court should stay further district court proceedings

pending resolution of the appeal and that all deadlines in the instant action shall be stayed pending

a further date to be set by this Court following the resolution of the appeal. The parties

respectfully request that the Court so order.

                                                  Respectfully submitted,

 Dated: October 5, 2021                           /s/ Brian M. Willen
                                                  Brian M. Willen (D.C. Bar No. 490471)
                                                  WILSON SONSINI GOODRICH & ROSATI
                                                  Professional Corporation
                                                  1301 Avenue of the Americas
                                                  40th Floor
                                                  New York, NY 10019
                                                  Tel.: (212) 999-5800
                                                  Fax: (212) 999-5899
                                                  Email: bwillen@wsgr.com

                                                  Counsel for Plaintiffs


                                                  BRIAN M. BOYNTON
                                                  Acting Assistant Attorney General
                                                  ERIC R. WOMACK
                                                  Assistant Director, Federal Programs Branch

                                                  /s/ Kathryn L. Wyer
                                                  Kathryn L. Wyer
                                                  U.S. DEPARTMENT OF JUSTICE
                                                  Civil Division, Federal Programs Branch
                                                  1100 L Street, NW
                                                  Washington, DC 20005
                                                  Tel.: (202) 616-8475
                                                  Fax: (202) 616-8470
                                                  Email: kathryn.wyer@usdoj.gov

                                                  Counsel for Defendants




                                                 2
